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                Entered on Docket
            ___________________________________________________________________
               5June 24, 2014
                     6
                         ALAN R. SMITH, ESQ. #1449
                     7   HOLLY E. ESTES, ESQ. #11797
                         Law Offices of Alan R. Smith
                     8   505 Ridge Street                                                                      ELECTRONICALLY LODGED
                         Reno, Nevada 89501                                                                       June 24, 2014
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                         Attorney for Debtors
                 11      ANTHONY THOMAS and WENDI
                         THOMAS and AT EMERALD, LLC
                 12
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                                                           UNITED STATES BANKRUPTCY COURT
                 15
                                                                          DISTRICT OF NEVADA
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                         In Re:                                                                 Case No. BK-N-14-50333-BTB
                 18                                                                             Case No. BK-N-14-50331-BTB
                         ANTHONY THOMAS and                                                     Chapter 11 Cases
                 19      WENDI THOMAS,
                                                                                                [Jointly Administered]
                 20
                         AT EMERALD, LLC,                                                       ORDER GRANTING EX PARTE
                 21                                                                             MOTION TO FILE PURCHASE AND
                                              Debtors.                                          SALE AGREEMENT UNDER SEAL
                 22
                 23      ______________________________/
                 24                The Court having considered the Debtors’ Ex Parte Ex Parte Motion to File Purchase
                 25      and Sale Agreement Under Seal (“Motion”), and good cause appearing therefor,
                 26                IT IS HEREBY ORDERED that the Motion is GRANTED.
                 27                IT IS SO ORDERED.
                 28      ///
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                           Case 14-50333-gs                  Doc 89         Entered 06/24/14 11:10:00                Page 2 of 2



                     1   PREPARED AND SUBMITTED BY:
                     2   LAW OFFICES OF ALAN R. SMITH
                     3   By:   /s/ Holly E. Estes
                           HOLLY E. ESTES, ESQ.
                     4     Attorney for Debtors
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